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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                 SOUTHERN DIVISION

AMERICAN FEDERATION OF                        Case No. 8:25-cv-00430
TEACHERS, et al.,

             Plaintiffs,

      vs.

SCOTT BESSENT, et al.,

             Defendants.

               DECLARATION OF KRISTOFER GOLDSMITH
                  IN SUPPORT OF MOTION FOR TRO

I, Kristofer Goldsmith, declare as follows:

1.​ I am over the age of 18 and have personal knowledge of the facts in this
    declaration.

2.​ I live in New York and currently work as the president and CEO of Task Force
    Butler Institute, whose mission is to combat domestic extremists.

3.​ I am a military veteran. From 2004 to 2007, I served in the U.S. Army. I joined
    as a Forward Observer, deployed to Iraq in 2005, and left as a Sergeant.

4.​ I currently receive financial benefits from the federal government, including
    veterans’ disability compensation from the Veterans Administration.

5.​ I have previously received other financial benefits from the federal government,
    including student loans from the Department of Education.

6.​ As a result of my military service and the financial benefits I currently and have
    previously received, federal government agencies, including the Department of
    Education and the Department of Treasury, have sensitive personal information
    about me in their record systems.

7.​ At the Department of Treasury, this information includes my social security
    number, date of birth, bank account information, and home address. At the
    Department of Education, this information includes my social security number,
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   bank records, tax returns, home address, employment data, documentation of
   marital status, family financial status and records, as well as job loss and
   demographic data, in addition to similar information for my family members.

8.​ I provided this personal information in order to access essential services like
    disability payments and funds to help with educational expenses. When I
    provided the information, I expected that the data would be used to facilitate my
    access to these services and only for legally authorized purposes. I also
    expected that the government would zealously safeguard access to that
    information.

9.​ I feel that my right to privacy has been violated by the government’s choice to
    disclose information to DOGE representatives, who appear to be using it for
    purposes that have nothing to do with why I provided the data. I did not request
    disclosure of my personal information to DOGE representatives or provide
    written access authorizing such disclosure. My concerns are amplified because,
    based on news reports, at least some of the DOGE representatives are recent
    high school graduates or college students with a checkered history on data
    security. Further, I am concerned about the potential disclosure of my
    information to AI tools and software.

10.​I am deeply concerned that my personal information has been compromised and
    angry that federal agencies appear to have facilitated this breach of my privacy.
    I am worried that my personal information, having been exposed to
    unauthorized individuals, may be exploited by domestic extremist organizations
    to harass, intimidate, and harm me and my family.

11.​My concerns are only heightened by the presidential pardons of many domestic
    extremists who participated in the January 6 insurrection, and Elon Musk’s
    apparent support of those pardons. Indeed, news reports indicate that DOGE
    representatives have amplified content from white supremacist Nick Fuentes,
    been associated with a cybercriminal network that engages in hacking and
    extortion, and have promoted explicit racial hatred. The reported support by
    DOGE representatives for entities that I target in my work combating domestic
    extremism makes it all the more likely that these individuals would leak my
    personal information to these malicious actors. As a result, I fear those
    malicious actors will seek to target me using my breached personal information.

12.​While I had already taken some proactive measures to protect my personal
    information and physical security, I have taken additional remedial measures in
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    response to the government-facilitated breach of my privacy to DOGE
    representatives. Fearing that my data may have already been released by DOGE
    to domestic extremists, I am more protective of my physical security. I
    previously carried a firearm on my person in my home when a neo-Nazi
    threatened my family. Because of the DOGE breach, as of last week, I am now
    carrying in my own home again. I also called my local police station earlier this
    week to alert them that there’s an increased risk of an attempted SWATing
    attack or other security event to try to encourage a measured response. And my
    wife and I are much more vigilant about checking our security cameras since
    the breach. She has asked me to cancel my work trips because she is scared of
    being at our home alone in light of the elevated security risks from the breach.

13.​This unlawful data access puts my life and my family at risk. These are not
    abstract concerns—they’re potentially deadly. I have already been targeted by
    domestic extremist groups in the past. Reports of DOGE representatives’ links
    to white supremacist networks and cybercriminals only make the risk more
    acute. I feel that the risk of my data being leaked and weaponized against my
    family has never been higher. The psychological toll of this privacy breach is
    immense.

I declare under penalty of perjury that the foregoing is true and correct.

Executed: February 11, 2025.​ ​           ​    ​      ​

​      ​     ​      ​     ​      ​        ​    ____________/s/*___________
​      ​     ​      ​     ​      ​        ​    Kristofer Goldsmith

*Counsel hereby certifies that he has a signed copy of the foregoing document
available for inspection at any time by the court or a party to this action.
